Case 1:17-cr-00232-EGS Document 132-3 Filed 11/01/19 Page 1 of 16




             EXHIBIT 3
Case 1:17-cr-00232-EGS Document 132-3 Filed 11/01/19 Page 2 of 16
Case 1:17-cr-00232-EGS Document 132-3 Filed 11/01/19 Page 3 of 16
Case 1:17-cr-00232-EGS Document 132-3 Filed 11/01/19 Page 4 of 16




                                                          DOJSCO-700022295
Case 1:17-cr-00232-EGS Document 132-3 Filed 11/01/19 Page 5 of 16
Case 1:17-cr-00232-EGS Document 132-3 Filed 11/01/19 Page 6 of 16




                                                          DOJSCO-700022297
Case 1:17-cr-00232-EGS Document 132-3 Filed 11/01/19 Page 7 of 16
Case 1:17-cr-00232-EGS Document 132-3 Filed 11/01/19 Page 8 of 16




                                                          DOJSCO-700022304
Case 1:17-cr-00232-EGS Document 132-3 Filed 11/01/19 Page 9 of 16




                                                          DOJSCO-700022305
Case 1:17-cr-00232-EGS Document 132-3 Filed 11/01/19 Page 10 of 16




                                                          DOJSCO-700022306
Case 1:17-cr-00232-EGS Document 132-3 Filed 11/01/19 Page 11 of 16




                                                          DOJSCO-700022307
Case 1:17-cr-00232-EGS Document 132-3 Filed 11/01/19 Page 12 of 16
Case 1:17-cr-00232-EGS Document 132-3 Filed 11/01/19 Page 13 of 16




                                                          DOJSCO-700022309
Case 1:17-cr-00232-EGS Document 132-3 Filed 11/01/19 Page 14 of 16




                                                          DOJSCO-700022310
Case 1:17-cr-00232-EGS Document 132-3 Filed 11/01/19 Page 15 of 16




                                                          DOJSCO-700022311
Case 1:17-cr-00232-EGS Document 132-3 Filed 11/01/19 Page 16 of 16




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